 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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NICHOLAS MAGALIOS,
                                                             19 Civ. 6188 (S.D.N.Y.) (CS)
                                   Plaintiff,
         - against -
                                                             NOTICE OF APPEAL
C.O. MATTHEW PERALTA, et al.,

                                    Defendants.
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            Notice is hereby given that Defendants Matthew Peralta, Timothy Bailey and Edward

   Blount hereby appeal to the United States Court of Appeals for the Second Circuit from each and

   every part of the Judgment entered on June 1, 2021, Dkt. No. 44, and the Opinion and Order on

   the Motion for a new trial or remittitur entered on February 10, 2022, Dkt. No. 56.

   Dated: New York, New York
          March 11, 2022
                                                                   Respectfully submitted,

                                                                   LETITIA JAMES
                                                                   Attorney General of the
                                                                   State of New York
                                                                   Attorney for Defendants


                                                             By:             /s
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                               CERTIFICATE OF SERVICE

        I, Bruce J. Turkle, hereby certify that on March 11, 2022, I caused the foregoing to be
filed electronically with the Clerk of the Court using the CM/ECF system. I further certify that
the above document was served on all parties by the Court’s CM/ECF system

                                                  s/Bruce J. Turkle
                                                   Bruce J. Turkle
